      Case: 23-35450, 03/05/2025, ID: 12923002, DktEntry: 283, Page 1 of 4




                       APPEAL NOS. 23-35440, 23-35450
                UNITED STATES COURT OF APPEALS
                    FOR THE NINTH CIRCUIT

                         UNITED STATES OF AMERICA,
                                              Plaintiff-Appellee,
                                         v.
                               STATE OF IDAHO,
                                          Defendant-Appellant,
                                         v.
 MIKE MOYLE, Speaker of the Idaho House of Representatives; CHUCK WINDER,
   President Pro Tempore of the Idaho Senate; THE SIXTY-SEVENTH IDAHO
                               LEGISLATURE,
                                         Movants-Appellants.

                On Appeal from the United States District Court
                           for the District of Idaho
                       Case No. 1:22-cv-00329-BLW

              STIPULATION OF DISMISSAL OF APPEALS


JAMES A. CAMPBELL                             RAÚL R. LABRADOR
JOHN J. BURSCH                                ATTORNEY GENERAL
ERIN M. HAWLEY                                ALAN M. HURST
LINCOLN DAVIS WILSON                          SOLICITOR GENERAL
ALLIANCE DEFENDING FREEDOM                    700 W Jefferson St #210
440 First Street, NW, Suite 600               Boise, ID 83720
Washington, DC 20001                          (208) 332-3548
(202) 393-8690                                alan.hurst@ag.idaho.gov
jcampbell@ADFlegal.org
jbursch@ADFlegal.org
ehawley@ADFlegal.org
lwilson@ADFlegal.org

                        Counsel for Appellant State of Idaho
         Case: 23-35450, 03/05/2025, ID: 12923002, DktEntry: 283, Page 2 of 4




       Under Federal Rule of Appellate Procedure 42(b)(1), Appellants, the State of

Idaho and the Idaho Legislature,1 and Appellee, the United States of America, stipulate

to the dismissal of these appeals, Nos. 23-35440 and 23-35450,2 with each party to bear

their own attorney fees and costs. See Fed. R. App. P. 42(b)(1)(“The circuit clerk must
dismiss a docketed appeal if the parties file a signed dismissal agreement specifying how

costs are to be paid and pay any court fees that are due.”). This Stipulation follows from

the parties’ Stipulation of Dismissal that was filed in the district court action. See Fed.

R. Civ. P. 41(a)(1)(A)(ii).




1
  The Speaker of the Idaho House of Representatives, Mike Moyle; the Idaho Senate
President Pro Tempore, Kelly Anthon; and the Sixty-Eighth Idaho Legislature
(collectively, the “Idaho Legislature”).
2
  In No. 23-35440, the State of Idaho is the Appellant, and the United States of America
is the Appellee. In No. 23-35450, the Idaho Legislature is the Appellant, and the United
States of America is the Appellee. The Court previously consolidated these appeals.


                                            1
        Case: 23-35450, 03/05/2025, ID: 12923002, DktEntry: 283, Page 3 of 4




                                                    Respectfully submitted,

Dated: March 5, 2025
                                                      By: /s/ Alan M. Hurst
                                                      RAÚL R. LABRADOR
                                                      ATTORNEY GENERAL
                                                      ALAN M. HURST
                                                      SOLICITOR GENERAL
                                                      700 W Jefferson St #210
                                                      Boise, ID 83720
                                                      (208) 332-3548
                                                      alan.hurst@ag.idaho.gov

                                                      Counsel for Appellant State of Idaho

By:                                                   By: /s/ Taylor A.R. Meehan
ERIC D. MCARTHUR                                      TAYLOR A.R. MEEHAN
  Deputy Assistant Attorney General                   CONSOVOY MCCARTHY PLLC
                                                      1600 Wilson Blvd., Ste. 700
MICHAEL S. RAAB                                       Arlington, VA 22209
 s/ Cynthia A. Barmore                                (703)243-9423
                                                      taylor@consovoymccarthy.com
CYNTHIA A. BARMORE
  Attorneys, Appellate Staff
  Civil Division, Room 7541                           Counsel for Appellant Idaho Legislature
  U.S. Department of Justice
  950 Pennsylvania Avenue NW
  Washington, DC 20530
  (202) 305-1754
  Cynthia.A.Barmore@usdoj.gov

Counsel for Appellee United States of America




                                                2
          Case: 23-35450, 03/05/2025, ID: 12923002, DktEntry: 283, Page 4 of 4




                           CERTIFICATE OF SERVICE

      I hereby certify that on March 5, 2025, I electronically filed the foregoing

Stipulation of Dismissal of Appeals with the Clerk of the Court for the United States

Court of Appeals for the Ninth Circuit by using the CM/ECF system, which will

accomplish service on counsel for all parties through the Court’s electronic filing

system.

                                        /s/ Alan M. Hurst
                                        Alan M. Hurst
                                        Attorney for Appellant State of Idaho
March 5, 2025




                                           3
